Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 1 of 25

ADVERTISING AND THE DETERMINANTS OF

° TEENAGE SMOKING BEHAVIOR'

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I. INTRODUCTION

Why do teenagers smoke cigarettes? As the incidence of smoking in the population as
a whole has declined, debates about smoking prevention policies have increasingly focused on
these youngest smokers. Much of that debate, however, has ignored the role of economic
behavior by teens, assuming instead that teenage smokers are passive victims of social forces
over which they have no control. From an economic perspective, however, teens’ decisions
about smoking are conceptually no different than any other consumption decision, involving a

balancing of the costs and benefits of the activity_

There are, of course, ample grounds for questioning the maturity of teenagers’
judgements about a wide variety of behaviors. Legislative decisions that teenagers cannot be

expected to pursue their own best interests until they reach a certain age undergird a wide

‘The views expressed in this article are my own. The statistical analysis was largely
conducted in connection with a consulting project for R. J. Reynolds Tobacco Company to
analyze several articles concerning the relationship between Came] advertising and teenage
smoking that onginaily appeared in the Journal of the American Medical Association. The
article was drafted independently, and was not reviewed by Reynolds prior to submission. |
wish ta thank Theresa Burke for her research assistance, and Timothy Muris for many helpful
Suggestions. Responsibility for any remaining errors is of course my own.

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Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 2 of 25

Teen Smoking Page 2
variety of restrictions on the choices teens can make, ranging from voung to driving to alcohol

and tobacco consumption.

Despite widespread prohibitions on the sale of cigarettes to teens below a certain age,’
many teenagers experiment with smoking. In 1989, 47.5 percent of 17 year olds reported that
they had smoked at least one cigaretile, and 24% had smoked in the previous 30 days.
Experimentation is strongly related to age. Only 11.1 percent of 12 year olds had ever smoked
a Cigaretie, with 2.3 percent having done so in the previous 30 days. The laws. however,
seemingly restrain smoking to some extent. At 18,57 percent had smoked at !cast one cigarette,
and 30.5 percent had smoked in the previous 30 days.’ Moreover, studies of newly passed

laws* and enforcement campaigns for existing laws’ indicate that legal sanctions can reduce

leenage smoking.

This study examines the determinants of the decision to smoke in two large, independent

cross sections of teens. One sample is national, and the other is confined to California teens.

*Forty-four states and the District af Columbia prohibit sales of cigarettes to those under 18.
3 states prohibit sales to 19 year old teens, one state prohibits sales to 17 year-olds, and 2 states
have no restrictions. Tobacco Institute, State Minors Laws (October 16, 1992).

‘Calculated from TAPS, the Teenage Attitudes and Practices Survey. The data are described
more fully below.

“Leonard A. Jason, Peter Y. Ji, Michael D. Anes, and Scott H. Birkhead, Active
Enforcement of Cigarette Control Laws in the Prevention of Cigarette Sales to Minors, 266 J.
American Medical Association 3159 (Dec. 11, 1991).

‘Ellen Feighery, David G. Altman, and Gregory Shaffer, The Effects of Combining
Education and Enforcement to Reduce Tobacco Sales to Minors, 266 J. American Medical
Association 3168 (Dec. 11, 1991).

FTCDOCS-0285-0816
FTCDOCS-0285-0816
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 3 of 25

Teen Smoking Page 3
The national sample is based on the Teenage Altitudes and Practices Survey, conducted on behalf
of the Centers for Disease Control in 1989. The California sample is based on the 1990
California Tobacco Survey, designed and conducted for the California Department of Health
Services. Section II considers the various factors likely to influence teenage smoking decisions.
Section IT] describes the data and the empirical approach. Section FV presents and discusses the

results of the statistical analysis. A final section offers some conclusions.
HW. UTILITY MAXIMIZING SMOKING DECISIONS

Like any other consumer behavior, utility maximizing decisions about smoking require
a balancing of perceived costs and benefits. The benefits of smoking are the individual's
subjecuve evaluation of the pleasures of the habit. The costs of smoking include the cost of
purchasing the product and the perceived health risks that consumption entails.* Presumably
the marginal benefits of consumption increase with the quantity consumed, but at a diminishing
rate. The marginal cost of consumption increases at a constant rate because of the price of the
product, and at an increasing rate if the perceived risks of smoking increase with the quantity

consumed. A utility maximizing teenager will choose to smoke if the benefits of smoking

*The analysis here takes consumers’ perceptions of the risks as given, and does not inquire
into their accuracy or rationality, Whatever the actual Icvel of risk, it is the risk as perceived
by consumers that will influence consumption decisions. Regarding cancer risks, the evidence
suggests that perceived risk is greater than actual nsk, especially among younger age cohorts.
See W. Kip Viscusi, Age Variations in Risk Perceptions and Smoking Decisions, 73 Rev. Econ.
& Stat. $77 (1991).

FTCDOCS-0285-0817
FTCDOCS-0285-0817
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 4 of 25

Teen Sinoking Page 4
exceed the cost, and if he consumes at afl, will consume at a level where the marginal benefits

of smoking equal the marginal cost.

Nonsmokers have never smoked a cigarette; they are teens for whom perceived net utility
is negative. Once perceived net utility crosses a threshold (theoretically zero), a utility
maximizing teen would try a cigarette. Further increases in perceived net utility, based in part
on the expenence gained from initial nals, would lead the teenager to smoke more intensively.
Bevond a second threshold. the ten would become a social smoker, defined as teens who have
smoked in the past 30 days, but do not smoke daily.’ Beyond a third threshold, the teen would

become a daily smoker.

A teenager's net utility from smoking will increase with his perceptions of the benefits
of smoking, and decline with increases in the perceived risk of smoking. Utility maximizing
teens who believe that smoking offers benefits are therefore more likely to smoke than those who
do not perceive benefits. Moreover, they are also more hkely to smoke more intensively.
Correspondingly, utility maximizing teens who believe that smoking poses greater risks are less
likely to be smokers, and are less likely to smoke intensively. Utility maximizing teens will also

consider the costs of quitting if they later change their minds, particularly if they think smoking

7Some “social” smokers may be recent experimenters, who happen to have tried their first
cigarette in the past 30 days. Even among younger tecns, however, the fraction of teens who
smoked their first cigarette at their current age is relatively small. For example, of 113 twelve
year olds who have ever smoked a cigarette in the TAPS sample, 24 smoked their first cigarette
at age 12. The fraction smoking their first cigarette at their current age is considerably smaller
among older teens.

FTCDOCS-0285-0818
FTCDOCS-0285-0818
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 5 of 25

Teen Smoking Page 5
is dangerous. Thus, teens who believe smoking is dangerous would be more likely to smoke

if they also believe quitting is easy.

Attitudes toward risk are also likely to influence smoking decisions. Given the perceived
benefits and costs of smoking, teens who are more risk averse would be less likely to smoke at
any given level of smoking intensity. Teens with greater tolerance of nsk, however, would be

more likely to smoke, and more likely to smoke more intensively, other things equal.

The choices of utility maximizing teenagers regarding smoking will also be affected by
the behavior of others around them if teens are subject to peer pressure. Acquaintances, close
friends, and family members all constitute potentially relevant peer groups that could plausibly

influence teenage smoking decisions.

If individuals gain utility from behavior that is similar to the behavior of their peers, the
utility of smoking will be influenced by the incidence of smoking among others. That is, the
desire to be part of a group may increase the utility of behaviors associated with that group.
Teens with many friends who smoke would therefore be more likely to be smokers, other things
equal, than those with no friends who smoke." Such interdependent preferences could also arise

if is more pleasurable to smoke with others than it is to smoke alone.

"For a formal treatment of peer pressure as a factor motivating individual effort within a
firm, see Eugene Kandel and Edward P_ Lazear, Peer Pressure and Partnerships, 100 ¥. Pol.
Econ. 801 (1992).

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FTCDOCS-0285-0819
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 6 of 25

Teen Smoking Page 6

Behavior of peers could also influence smoking decisions through their influence on the

cost of smoking. If friends smoke, trial is presumably cheaper than it is for a teen who knows
no smokers, since cigarettes can be obtained one al a time instead of in packages. Moreover,
the fact that in most states sale of tobacco to those under 18 is illegal imposes an additional cost
of tnal. Again, the cost of trial would be lower for teens with friends who smoke, The
availability explanation of peer pressure suggests that peer influences should be greater on the

decision to try a cigarette than on decisions to smoke more intensively.

The role of advertising in teenage smoking decisions has been controversial. Many have
argued that advertising influences teens’ preferences, and thereby encourages them to smoke
when they would not otherwise do so. If so, teens exposed to more advertising should be more

likely to try cigarettes, and should smoke more intensively.

If, however, advertising operates by providing brand-specific information, such as taste,
tar and nicotine content, or simply as a signal of quality, there is no clear theoretical reason to
expect that it should increase demand for the product. Teens are likely aware of cigarettes from
other sources of information, including anti-smoking programs and the behavior of those around
them. [f so, advertising provides no new information about the product itself, and should have
fo influence on the decision to smoke. Exposure to advertising should therefore have no

influence on either trial or smoking intensity.

FTCDOCS-0285-0820
FTCDOCS-0285-0820
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 7 of 25

Teen Smoking Page 7
Ill. DATA SOURCES AND EMPIRICAL METHODOLOGY

A. Data Sources

Two large surveys of teenagers provide the basic data sources for this study. Both
surveys were household based, including teens who are not in school as weil as students. The
Teenage Attitudes and Practices Survey (TAPS), sponsored by the Centers for Disease Control,
obtained data on teenagers knowledge about and use of tobacco products in 1989. The nationally
representative sample was drawn from households that participated in the National Health
Imterview Survey during the second half of 1988 and the first half of 1989, and included daa
on 9,965 teens, 82.4 percent of teens in those households.’ The sample consists primarily of
{2 to 18 year olds, although about 2 percent of the observations are 11 and 19 year olds.
Telephone interviewing was canducted dunng the last quarter of 1989.'"" The survey used a
mail questionnaire to obtain data from an additional 830 teens, but differences in the
questionnaires made these observations unusable for the primary analyses. Missing data reduced

the available sample size to 9,042.

The second data source was a survey of 5,040 California teens conducted in 1990,

commissioned by the California Department of Health. Households were sampled by stratified

*Participation in the original survey from which the sample was drawn was 95%.

‘Cigarette Smoking Among Youth -—- United States, 1989, 40 Morbidity and Mortality
Weekly Report 72 (Oct. 18. 1991).

FTCDOCS-0285-0821
FTCDOCS-0285-0821
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 8 of 25

Teen Smoking Page 8
random-digit dialing, and all teens between the ages of 12 and 17 were interviewed. The
response rate was 78.4%. Telephone interviews were conducted between June, 1990 and

March, 1991.'' Missing values reduced the available sample size to 4,980.

Both surveys included a variety of virtually identical questions on the perceived benefits
and the perceived health risks of smoking. Moreover, both surveys obtained comparable data
on peer and family use of cigarettes. In what follows, differences in question wording and the
data collected are noted where they are potentially relevant. The sample designs make weighting
of the data appropriate far population statistics. {f the same model fits all individuals, however,
weighting is unnecessary for the logistic models. The primary analysis therefore focuses on
unweighted models. Weighted models were also estimated, and differences are noted where they

are significant."

The high degree of comparability between the surveys made it possible to employ

essentially identical models in two independent samples. All testing of relevant variables and

"John P. Pierce et. al, Does Tobacco Advertising Target Young People to Start Smoking?
Evidence from California, 266 J. American Medical Association 3154 (Dec. 11, 1991}. The
Califomia study also used a different survey instrument to obtain data from 24,296 adults. All
smokers and former smokers who had quit within the previous 5 years were sampled, along with
28% of other adults. Unfortunately, lack of comparable questions precludes using the same

mode] to examine adult smoking decisions, The adult data can be used for other comparisens,
however, as noted below.

"The weights included in the data sets are designed for estimating population totals. These
weights were used directly to estimate population statistics (e.g., percentages of smokers). For
the logistic models, the weights were first divided by the average value of the weight in the
sample. Thus, the average weight is one.

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Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 9 of 25

Teen Smoking Page 9
model formulations was done using the California sample. The resulting fina! models were then
estimated using the larger national sample from TAPS, with very slight changes in formulation
necessary to accommodate the differences in the two surveys."? Thus, the reparted probability
levels for statistical inferences from the national sample in fact conform to the oft-violated
assumption that the model is specified independently of the data it seeks to explain. The high
degree of correspondence between the California and national results gives considerabie

confidence in the underlying model.

B. The Ordered Logistic Model

The analysis examined smoking decisions using an ordered logistic model.“ In the
model, net expected utility (or propensity to smoke) is viewed as a function of a number of
vanables measuring teens’ perceptions of the benefits of smoking, the risks of smoking, the
behavior of their peers and other family members, and other variables. Although net expected
utility is unobservable, it is related to observed smoking status. As net expected utiliry from
smoking increases, and exceeds some threshold value, an individual switches from being a non-
smoker to trying a cigarette. Further increases in net expected utility beyond a second threshold

lead the individual to become a current smoker, and increases beyond a third threshold lead him

“A handful of theoretically interesting variables that proved insignificant in developing the
California model were added back into the national models using dichotomous dependent
variables to verify the generality of the insignificance result. These results are noted where
appropriate.

“Results from the California data using an ordered probit model are extremely similar and
are Ol reported.

FTCDOCS-0285-0823
FTCDOCS-0285-0823
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 10 of 25

Teen Smoking Page 10
10 become a daily smoker. The ordered logistic model uses data on ordered categorical
responses to estimate the effects of independent variables on the unobservable net utility of

smoking.”

The dependent variable, SMOKING, included four levels of smoking intensity: never
smoked, smoked at Jeast one cigarette but not in the last 30 days, smoked ar least one cigarette
in the last 30 days but not daily, and daily smokers. Smoking at least one cigarette in the last
30 days is the widely used definition of a current teenage smoker.'* Thus. the categories of
smoking intensity correspond to non-smokers, experimenters, social smokers, and daily

smokers.” Because the ordered model constrains the independent variables to have the same

“See Takeshi Amemiya, Qualitative Response Models: A Survey, 19 J. Econ, Lit, 1482
(1981); Jan Kmenta, Elements of Econometrics (2nd Ed., 1986), Chapter 11.

Although it has the virtues of objectivity and widespread use, defining current smokers as
those who have smoked in the past 3G days does not necessarily correspond to an individual's
view of his own status, particularly among younger respondents. In the California adult survey,
respondents were asked, "Do you smoke cigarettés now?" Among 18-24 year olds who had
smoked in the previous 30 days but less than daily, 50.4% answered no (n=5972). This is 22.3
percent of all those who smoked in the previous 30 days (n=1092). The percentages are based
on weighted data. The differences between the objective and subjective definitions narrow
considerably among older adults, but persist even amang those in their 60s.

"The experimenters, who have smoked some cigaredes but not in the last 30 days, also
include some former smokers (those wha have smoked at least 100 cigarettes ia their lifetime)
who have quit. As might be expected, (his category is a relatively small fraction among teens:

Former smokers as a percent of:

(Weighted Data)
Smoked = 1 cig.
Ever Smoked but not in past
Population =_} cigarette 3Q days
National Teens 1.5 4.1 7.4
Calif. Teens 1.4 5.4 "8.4
Calif. Adults 25.7 35.5 53.5

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FTCNOCS-0285-0824
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 11 of 25

Teen Smoking Page |!
effect regardless of the level of smoking intensity involved, models were also estimated using
dichotomous dependent variables for each level of smoking. Essentially, the dichotomous
models define. smokers as those who are above a given level of smoking intensity, and estimate
the effect of the independent variables on the probability of being a smoker. EVER is one for
teens who have ever smoked a cigarette, and zero for those who have not. CURRENT is one
for teens who have smoked in the past 30 days {zero otherwise), and DAILY is one for teens
who are daily smokers. Most of the model development work with the California data was done

using the dichotamous model with current simaking as the dependent variabie.

A limitation of the ordered logistic model is that it takes no account of the effect of
information acquired from trial on decisions to smoke more intensively. To some extent, that
expenence is reflected in the measured benefits and costs of smoking. . That 1s, teens who have
tried smoking may, because of their experience, give different answers to the questions about
the benefits of smoking. There are, however, other aspects of the utility of smoking that are
not measured. If the experience gained from tnal typically increases assessments of those
benefits, teens would be more likely to progress to more intensive smoking than the ordered
logistic model would predict. If experience reduces the perceived benefits, however, the ordered

model will overpredict higher levels of smoking compared to the dichotomous models.

The sample distributions of smoking status are given in Table 1. The higher incidence
of smoking in the national sample, particularly daily smoking, reflects in part the fact that the

~ sample includes 18 and 19 year alds, while the California sample does not. Substantially more

FTCDOCS-0285-0825
FTCAOCS-09785-0N825
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 12 of 25

Teen Smoking Page {2
18 and {9 year olds are daily smokers: 15.9 percent, compared to 4.8 percent of 12-17 year
olds. Nonetheless, arnong comparabie age groups, smoking, and particularly daily smoking, is
less common in California than in the national sample. In California, 2.4 percent of 12-17 year
alds are daily smokers. Similarly, 74.9% of this age group in Califomia has never smoked a

cigarette, compared to 68.3% natonally.

Table 1
Percentage Distribution of Smoking Status
Smoking Status National Sample California Sample
La ————

Non-smokers 65.87% 72.89%
Experi meniers 18.79% 17.27%
Social Smokers 9.52% 7.39%
Daily smokers 5.82% , 2.75%
Sample Size 9042 4980

The perceived benefits of smoking are measured by four dummy variabfes: BORED,
RELAX, STRESS, and SOCIAL."* These variables are equal to one for teens who believe that
smoking helps when people are bored, helps them relax, helps reduce stress, or helps people feel

more comfortable in social situations.’? All should have positive signs. An additional variable,

FUNRISK, measures attitudes toward risk. Teens who like to do dangerous things should be

"Detailed definitions of these and other independent variables, including the specific survey
questions and differences (if any) between the California and national surveys, are listed in
Appendix Table A-1.

“In developing the model, a dummy variable for teens who think that smoking helps contro!
_ weight was consistently insignificant for bath boys and girls, and was dropned from
analysis.

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FTCDOCS-0285-0826
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 13 of 25

Teen Smoking Page 13
more inclined to smoke. other things equal, so its coefficient should be positive." Three
dummy variables measure the perceived nisks of smoking. HARMCIG is one for teens who
believe that an occasional cigarette is harmful, and should have a negative coefficient.”!
SMOKYR is one for teens who think it is safe to smoke for a year or two; its coefficient should
be positive. SMKDCAN is one for teens who think that smoking for a year or two is
dangerous, but also think they can quilt any time they want. In essence, this formulation lets
attitudes toward ability to quit smoking affect decisions for teens who think smoking a year or

two is dangerous, but not for teens who think such smoking is safe.”

The influence of peers is captured by a series of four variables that measure the teen's
perceptions of smoking behavior ranging from their acquaintances in general to peers that may

be particularly influential. AGESMOKH measures a teen's perceptions of how many people

*“FUNRISK is equal to | for teens who disagree that they like to do dangerous things
oecasionally (risk averse teens), 2 for teens who neither agree nor disagree (risk neutral), and
three for those who agree (risk lovers). Most teens either agree or disagree, only about 8% of
each sample has FUNRISK = 2. Ia California models with current smoking as a dichotomous
dependent variable, separate dummy variables for teens who agreed and disagreed produced
essentially the same results. The single variable formulation fit the data better as judged by the
Akaike Information Criterion.

“An additional risk variable based on teens who agree that all doctors think smoking is
dangerous was positive but never significant, either in the California model development analysis
or when it was added inte the model estimated on the national sample.

“In California models with current smoking as the dependent variable the full range of
interaction of attitudes toward ease of quitting with SMOKYR was examined with a set of 4
dummy variables. Only the SMKDCAN variable was significant. Thus, beliefs about the ability
to quit were only significant for teens who think smoking for a year or two is dangerous. The
formulation using SMKDCAN alone was selected over an alternative model that allowed
attitudes toward quitting to enter only if SMOKYR = 0 based on a superior fit as judged by the
Akaike Information Criterion.

FTCDOCS-0285-0827
FTCROCS-N2R5-0897
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 14 of 25

Teen Smoking Page 14
they know about their age smoke. It ranges from zero (none) to 3 (most). OPPSEXS and
SAMESEXS are continuous variables measuring the fraction of a teen's best friends of the
opposite sex and same sex who are smokers.”” These coefficients should be positive if best
friends are more influential than other acquaintances. The model also includes an interaction
term, BSMESEXS, that allows the influence of friends of the same sex to differ for boys and
girls. This formulation allows for the possibility of sex differences in the influence of peers.”
STEDYSMK is a dummy variable equal to one for a teen who has ever had a steady boyfriend
or girlfriend who was a smoker and zero otherwise. STEDYSMK should be positive if'a steady

boytriend or girlfriend is more influential than other friends of the opposite sex.”

The primary variable capturing family influences on teenage smoking decisions is
ADLTSMK, the number of adults in the household who smoke.” Although parents are

included in this variable if they are smokers. their influence ts allowed to differ by the inclusion

*In the California survey, teens were asked how many “best friends” they had of each sex,
and asked separately how many of those best friends smoke. Answers ranged from 0 to 99.
In the TAPS survey, teens were asked how many of their four best friends of each sex smoke.
The percentage was set equal to zero for teens who reported no friends of a particular sex.
Dummy vanables to allow for these teens were insignificant in the model development analysis,
except for boys with no friends of the same sex (BSSNOFRD). The percentage formulation fit
the California data better than models based on the number of friends who smoke.

“In the early stages of model development, dummy variables allowed virtually all
coefficients to differ by sex. Most of these interactions proved insignificant.

4A dummy variable for teens who said their best friend would disapprove of them smoking
was negative but never significant, and was dropped from further analysis.

**Unlike peers, the numerical formulation fit the California data better than a percentage
formulation. The Califormia model also includes COUNT, which measures the total size cumber
af people in the household. This information was not available in TAPS.

FTCDOCS-0285-0828
FTCDOCS-0285-0828
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 15 of 25

Teen Smoking Page 15
of dummy variables for a smoking parent (MOMINSMK, DADINSMK). The sign on these
vaniables depends on whether parents are more or less influential than other adults living in the
household. Other dummy variables allow for different effects in households where the mother
or father is not present or where there are no adults (NOMOM, NODAD, NOADULT).”
OSIBSAME and OSIBOPP allow for the influence of older siblings, and allow that influence to

depend on sex.

The basic model includes several other vamables. FMLYINC2 measures the household's
income."? Dummy variables allow different effects for teens who are not in school
(NOSCHOOL), for hispanic boys {(BHISPNC}, and for nonwhites (NONWHITE). WKGOOUT
measures the number of nights per week that the teen goes out for fun or recreation. Teens who

go out often may be subject to less parental supervision, or they may be more influenced by

“Largely as a result of definitional differences. there are far more teens in NOADULT
households ia the California sample. 3.2%, compared to only 0.3% of teens in the TAPS
sample. In California, NOADULT is one if the household has no mother, no father. and no
guardian, Thus, it is one if the teen lives with another adult relative. In the TAPS sample,
NOADULT is one only for teens living with no parent and no adult relative.

“In Califomia, these variables are defined as the percentage of older siblings who smoke
(zero if no older siblings). In the national data, they are dummy variables, equal to one if the
teen has an older sibling who smokes. No information is available in TAPS that would allow
a count of the number ar percentage of smokers. In model development in the California data,
the influence of younger siblings was consistently insignificant, a finding that was confirmed in
the national sample.

“Income was coded to the midpoint of the reported income ranges used in the survey
instrument, with the actual census value for mean income used for the open ended top income
category. In each sample, approximately [12.5% of the observations have no income
information. Rather than omit a potentially important variable or delete these observations,
income was set equal to zero and a separate dummy, NOINC, defined to identify them. This
allows the analysis to incorporate the information these observations contain about the other
coefficients of the model without influencing the estimated income effect.

FTCDOCS-0285-0829
FTCDOCS-0285-0829
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 16 of 25

Teen Smoking Page 16
their peers. Either explanation suggests a positive coefficient. The model does not include
education. Neither the highest education level achieved by a parent or guardian nor the
education level of the teen were every very close to statistically significant, and signs were not

consistent across models.”

The model does not include a price variable. Within California, there are no local taxes
that would generate price variation, so the exclusion of price is unlikely to influence the results.
Price obviously varies in the national sample. but the only geographic information available on
the respondent is census region. Although the national model is misspecified because of the
absence of price, the high degree of correspondence with the California results suggests that the

problem does not appreciable affect the results.

C._ Advertising Measures
The California data also allows an exploration of the influence of advertising. R. J.
Reynolds provided monthly estimates of total advertising expenditures for the leading brands and

for the industry as a whole in each of its five media divisions in Califomia." Total industry

Adding family education to the model in the national sample produced essentially the same
resuits. Both variables were positive with current smoking or ever smoked as the dependent

variable, negative with daily smoking as the dependent variable, and never significant at 10
percent.

"The data include expenditures for magazines, supplements, newspapers, out of home, and
special market advertising. Reynolds allocates national advertising (such as magazine ads) to
local markets based on circulation where possible and population where local circulation figures

(continued...)

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Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 17 of 25

Teen Smoking Page |7
advertising as well as advertising for the two brands that dominate the Califormia teenage market
{Marlboro and Camel) was examined? To control for differences in the level of expenditures
that stem solely from differences in the size of the media markets, advertising expenditures were
divided by the number of households in the corresponding media division. Teens were matched
with the advertising data based on their county of residence (and zip code where a county was
split between two different media divisions) and the month in which they were interviewed. In
different formulations, advertising expenditures over the prior 3 months, six months, and 12
months were considered.” Generally. however. the six month formulation yielded the smailest
(t.¢., best) Akaike Information Criterion. The lack of geographic information meant that no

comparable analysis was possible with the national sample.

Differences in advertising patterns over time and in different geographic areas give rise
to considerable variation in estimated exposure to advertising. Total industry advertising for the
prior six months, for example, ranges from $1.79 per household to $4.45, with an average of

§3.15 and a standard deviation of .63.

4. continued)
are unavailable, Out of home advertising includes billboards and transit advertising. “Special
markets" is a relatively small category including, for example, spanish language advertising.
The data do not include event sponsorships, which are more national in character, or
promational spending, which is aot tracked systematically.

“Among California teens who buy their own cigarettes, 63% buy Mariboro and 22% buy
Camel. In the TAPS sample, Mariboro's share of buyers is 68% and Camel’s is 8%.

SAdvertising data for the current month was assigned based on the assumption that
expenditures occur at a constant daily rate within the month. Thus, a teen interviewed on the
tenth of a 30 day month was assigned one third of that month's advertising. Three month
advertising for this teen would be one third of the current month’s advertising plus the two prior
months plus two thirds of the advertising expenditures in the third month prior to the interview.

FTCDOCS-0285-0831
FTCNOCS-0285-0831
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 18 of 25

Teen Smoking Page 18
In addition. the California survey included a question about what brand teens think is
most advertised. Teens were asked to “think back to the cigarette advertisements you have
recently seen on billboards or in magazines. What brand of cigarettes was advertised the most?”
Responses to this question were used to define a series of four dummy variables based on the
brand named and the brand that was in fact more heavily advertised for that particular teen:
JOERIGHT is one if the teen named Camel as the most advertised brand when in fact it was and
is zero otherwise. JOEWRONG is one if the teen named Camel but Marlboro is is fact more
heavily advertised. Similarly, MARRIGHT and MARWRONG are one for teens naming
Marlboro most advertised when it was in fact more (less} advertised, and zero otherwise.
The omitted categories are teens who don't know which brand is most advertised (about 13%

of sample) and those who name other brands (about 17%).
iV. RESULTS

A._ The Decision to Smoke

‘The estimates of the ordered logistic mode! for the California and national samples are
presented in Table 2, The model fits both data sets quite well. Indeed, although the differences

are very small, the model fits slightly better in the reserved national data sample. Virtually all

** Right" and “wrong” answers were defined based on comparisons of Marlboro and Camel
advertising only, since data were not available at the braadicvel for all brands. In the sample,
mean expenditures per household for these two brands in the firevious six months were
approximately 32 percent of the industry total. Itis urtiely, but not impossible, that any other
hrand was in fact more advertised for particular teens.

FTCDOCS-0285-0832
FTCDOCS-0285-0832
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 19 of 25

Tahte 2
MODELS OF SMOKING INTENSITY
TAPS ICALIFORNIA
VARIABLE = [cocfticent - | Probabitiey Casifieien | Protattity
INTERCP} O$.O178 U.0001 | -16.0752 0,000)

INTERCP?2 7.2427 §=6LO0G01 | -8.0755 0.0001
AINTERCP3 5.5039 0.0001; -6.2801 0.0001
FUNRISK 0.2495 0.0001 | 02199 4.0001
BORED 0.3198 0.0005 0.2448 0.0057
RELAX 0.3925 0.000 0.3688 0.0001
SOCIAL 0.0783 014471 0.2646 (.0006
STRESS 0.3601 0.0001 01.3729 01.0001

HARMCIG 0.4623 0.0001 | -0.8567 0.0001
SMKDCAN 0.6671 (0001 (1.4130 0.0001
-ISMOK YR U777h | O.00H 01.0643 (1.6334
AGESMOKH © (20000 O.00UT 414th GUC
BSMESEXS 03479 = 0.0026 0.5978 0.0047
BSSNOFRD 1.7399 0240 0.6544 0.1259

OPPSEXS 05368 0.0001 0.6604 0.00101
SAMESEXS 18670 0.0001 1.4706 U.0001
STEDYSMK 9019 0.000 0.7331 1).0001
ADLTSMK 1.2289  U.0317 0.5326 ~ 0.000]
|COUNT | -- 40752 0.0089
DADINSMK | -H1308 0 U.2571 5 405427 0.0152
MOMINSME : -tLi344 AL2h82 2 L359 UO 71
NOADULT | 0.751) W048] 0.5591 0.0493
NODAD ; (29435 ULO402] 0.3503 G.N006
NOMOM 0.2517 0.0291 0.3542 0408
OSIBOPP 0.3696 0.0012; 0.2782 0.0654
OSIBSAME 0.8692 0.0001 1.0437 = 9.000}
AGE 0.1933 @.codl 0.2631 0.0001
BHISPNC 4408 00004) 0.3588 0.0013
FMLYINC? 0.0024 4.0632) 0.0060 LOGO
NOINC 0.0915 0.3077; 0.2986 0.0276
NONWHITE | 0.8384 = 0.0001] -0.3634 =—-(@.0001
NOSCHOOL | 0.5361 4.0001 0.4586 0.0192
WKGOOUT | 0.0973 0.0001 0.0903 0.0001

Measures of Overail Fit TAPS — JCatfecita |
Chi Square Statistic | 4776395 | 2048956
ip value) (0001) (.0001)
McPag-ts- + 62 0.2699 0.2487
gesacorcant Response, prediction 82.40% 80.20%

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FTCNOCS-0288-6833
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 20 of 25

Teen Smoking Page 20
of the variables of interest have the expected signs, and most variables are significant at .0001.

Moreover, the results are generally quite consistent in the two samples.

Age is positive and significant in both samples. At the sample mean probability of
smoking in the past 30 days, each additional year raises the probability of smoking by .0251
in the national sample, or 16.4% (.0240 in California, 23.7%). The strong influence of age,
given the teen’s attitudes about smoking and the behavior of his family and friends, suggests that
teens consider the decision to smoke carefully. In contrast, the notion that smoking decisions
reflect simply youthful immaturity would seem to imply that younger teens should be more likely

to smoke, other things equal. The data are not consistent with this hypothesis.

Consistent with the notion that teenage smoking decisions reflect a balancing of perceived
benefits and risks, three of the four measures of the benefits of smoking are positive and
significant in both samples -- RELAX, BORED, and STRESS. SOCIAL, however, is negative
and significant in the California sample, but positive and not significant in the national sample.

The results for SOCIAL may reflect the fact that the social benefits of smoking are also

“The derivative of the probability of being a smoker with respect ta a variable i is equal to
B.x(l-x), where B, is the logistic coefficient and +; is the probability of smoking. Because the
sample means differ, the derivative is evaluated at different points in this comparison. At the
national sample mean probability of smoking in the previous 30 days, each additional year of
age raises the probability of smoking by .0342 in the California sample. At the California mean,
the derivative for the national sample model is .0176.

*To the extent that legal restrictions on tobacco sales to minors are important, the positive

age coefficient may also reflect the fact that older teens look older and therefore find it easier
to obtain cigarettes.

FTCDOCS-0285-0834
FTCONOCS-0985-02234
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 21 of 25

Teen Smoking Page 21
measured by the peer vanables. That is, the fraction of frends who smoke may be a better

measure of the social benefits of smoking than answers to the survey question.

Similarly, the effects of the risk measures are consistent with rational choice. As
measured by FUNRISK, teens who like risky activites are more likely to smoke in both
samples. Given their attitudes toward risk, teens who think that an occasional cigarette is
harmful are significantly less likely to smoke in both samples. In the national sample, teens who
think that it is safe to smoke a year or two are significantly more likely to smoke.” in the
California sample, however, SMOKYR is not significant.“ In both samples. teens who think
a year or two of smoking is dangerous but quitting is easy are significantly more likely to

smoke.

To clarify the relative importance of the different tnfluences on the decision to smoke,
Table 3 presents the calculated probability of current smoking for various combinations of the

independent variables.” As a base case, the table takes a risk-neutral teenager who has no

"Even among daily smokers, 75% nationatly and 86% in California think smoking a year
or (wo is not safe, and a higher fraction of less intensive smokers think so as well. In contrast,
a Majority of daily and social smokers do not believe there is harm in an occasional cigarette
(56% of daily smokers, 58% of social smokers nationally; 52% and $3%, respectively, in
California).

*“SMOKYR was retained in the California model because it was consistently positive and
significant in models with current smoking as the dependent variable.

Because the logistic model is nonlinear, there is no simple relationship between the
magnitude of the effects of an independent variable in isolation and in combination with other
variables. Instead, the vector of values for the independent variabies must be specified, and the
resulting probability calculated from the coefficients of the models in Table 2.

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Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 22 of 25

Table 5
CALCULATED PROBABILITY OF CURRENT SMOKING
NATIONAL CALIFORNIA
Relative Relative
Probability] Odds *  {Probabilityj) Odds *
Sampic Mean 15.54% 10.14%
Ac means of all variables 740% 4.36%
BASE: All anusmoking answers ** 1.85% 1.019%
Risk Utility Variables
Like Risk 237% 1.28 1.36% 1.24
Smoking utility measures **" 2.03% 3.04 2.22% 2.03
Occasional cigarette sate ZS 1.57 2.53% 2.32
Safe ta smoke year ar twa 6.125% 3.30 2.70% 2.47
Year nat safe, can quit 3.55% 1,91 1.64% 1.50
Peer Variables
sleady smokes 4.45% 2.40 2.26% 2.07
most my age smoke 3.33% 1.79 3.08% 3.3]
all friends (same sex) smoke LOSYSe 3.87 ASIS 4.20
all friends (opp. sex) smoke 3.13% 1.69 29% 1.92
Fuainily Variables
{ mom & dad smake 2.25% 1.20 1.579% 1.44
j older same sex sibs smoke 4.31% 2.33 3.457 Us
«_older app. sex sibs smake i 2.665 1.44 1.44% 1.32
“Combinations ot Wariahles
Risk Utility Variables 2LY2% 11.29 6.03% 6.08
Peer Variables 44.41% 26.11 40.23% 36.87
Family Variables 728% 3.93 5.66% 5.19
* Calculated prahahility relative to the base case.
** Base calculated at sample mean income, age, WAGOOUT,
(and COUNT in Cahifarnia sample), FUNRISK =2, and HARMCIG = {,
All other variables = 0.
**" BORED, STRESS. RELAX. SOCIAL = 1.

FTCDOCS-0285-0836
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Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 23 of 25

Teen Smoking Page 23
smoking friends or family members, sees no utility in smoking, and thinks that smoking is
dangerous.” The calculated probabilities are uniformly lower in California, but the relative

importance of the variables is quite similar.”

Measures of the perceived benefits and costs of smoking are important. Perceived safety
is most important, particularly in the national sample. Moreover, the probability of current
smoking is approximately 25% greater for teens who like ask. In combination, the risk utility
variables are more important in the national sample. with relative odds of just over eleven,

compared to six in the California sample.”

In both samples. the coefficients in Table 2 reveal that peers have a powerful influence
on smoking decisions. Perceptions that more teens of about the same age smoke are associated
with higher probabilities of smoking (AGESMOKH), and the fraction of best friends who smoke

increases the hkelihood as well. The effect of best friends of the same sex is significantly

“Income, WKGOOUT, and age are set equal to the sample mean, as is COUNT in the
Califomia sample.

“The difference between Califomia and the national sample is largely accounted for by
differences in the means of the variables, and the absence of family size data in the national
model. Evaluated at the mean of the national data, and setting COUNT = 0 (the implicit
restriction in the national model) the base case smoking probability in California would be
1.66%, much closer to the national figure of 1.85%. Setting COUNT equal to the California
mean (4.49), however, reduces the calculated base probability to 1.19%. The relative odds are
less affected by the differences in the models and the means, and are therefore more comparable
between the samples.

“When the California survey was conducted, an extensive anti-smoking advertising campaign
was also underway. If the campaign influenced teens to give “socially acceprable" answers to
questions about smoking’s risk and utility, it may account for the lower apparent significance
of these variables in the California sample.

FFCDOCS-0285-0837
FTCDOCS-0285-0837
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 24 of 25

Teen Smoking Page 24

43

greater than best friends of the opposite sex.*’ Moreover, the influence of best friends of the
same sex is significantly greater for boys than for girls (BSMESEXS), contrary to the
suggestions of some that girls are more influenced by peer pressure.“ Boys who have no best
male friends (BSSNOFRD) are more likely to smoke than the absence of friends who smoke
would imply, but the effect is only significant in the national sampie. A steady boyfriend or

girlfriend who smokes also significantly increases the likelihood of smoking.

The importance of peers is also apparent in the calculated probabilides of smoking in
Table 3. In both samples, the behavior of friends of the same sex is the single most powerful
variable in ratsing the calculated probability of smoking. If al] friends of the same sex smoke,
the likelihood of smoking increases almost six times in the national sample, and more than four
times in the California sample.’ In both samples. same sex friends are more than twice as
important as opposite sex friends. Perceptions about smoking acquaintances are more important
in California than in the national sample, raising the likelihood of smoking more than three
times. As judged by the relative odds measure, the other peer measures are of comparable

importance in the two samples.

“The Wald chi-square statistic for the hypothesis that the difference between the coefficients
on SAMESEXS and OPPSEXS is zero is 65.29 in the national sample, and 9,71 in the california
sample, Both values are significant at .OL.

“See ¢.g., Erica H. van Roosmalen & Susan A. McDaniel, Adolescent Smoking Intentions:
Gender Differences in Peer Context, 27 Adolescence 87 (1992); and , Peer Group
Influence as a Factor in Smoking Behavior of Adolescents, 24 Adolescence 80! (1989).

“Part of the difference between California and the national sample may be due to the
difference in the questions asked. The national data identifies the fraction of the teen's four best
friends who smoke. The Califomia data allow for up to 99 “best” friends. The national
formulation may focus more closely on the friends most likely to affect the decision.

FTCDOCS-0285-0838
FTCDOCS-0285-0838
Case 1:99-cv-02496-PLF-MAU Document 3165-5 Filed 05/04/04 Page 25 of 25

Teen Smoking Page 25

Taken together, the powerful influence of the peer variables is apparent. For giris, the
probability that a teen is a current smoker if all friends smoke, the teen thinks most people her
age smoke. and has a steady who smokes is 48 percent in the national sample, and 40 percent

in the California sample. At age 16, such a teen is more likely to be a current smoker than not.

Smokers in the household also have a significant effect on
teenage smoking behavior. The more adult smokers in the household, the more likely a teen is
to smoke. The coefficient is larger and more significant in the California sample. perhaps
because the model includes the total size of the household as an additional independent variable.
That information was not available in the national sample. Older siblings who smoke increase

the likelihaod of smoking, and, as with friends, the effect is greater for siblings of the same sex.

Opposite sex siblings are only significant at .06 in the California sample.

The influence of parents operates in part through ADLTSMK and in part through the
separate dummy variables for a smoking parent (MOMINSMK, DADINSMK). The negative
coefficients on the parent dummies indicate that a parent who smokes increases the likelihood
of smoking by jess than another adult who lives in the household, although the effect is only
significant in the California sample. The net effect of a smoking parent, the sum of the smoking

parent dummy and ADLTSMK coefficients, is positive but not significant in either sample.

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